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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

   INRE:                                     )
                                             )         Case No. 3:19-bk-30822
   TAGNETICS INC.,                           )
                                             )         Chapter 7 (Involuntary)
                       Alleged Debtor.       )
                                             )         JUDGE GUY R. HUMPHREY


         MOTION OF McCARTHY, LEBIT, CRYSTAL & LIFFMAN, CO. L.P.A.,
                  FOR LEAVE TO WITHDRAW AS COUNSEL

       Pursuant to Rule 1.16 of the Ohio Rules of Professional Conduct and LBR 2091-l(a)(2),

the law firm of McCarthy, Le bit, Crystal & Liffman, Co. L.P .A. and Robert R. Kracht, Esq;

(collectively "MLCL") respectfully move this Court for leave to withdraw from further

representation of Tagnetics Inc., the Alleged Debtor {"Tagnetics"). In support of the Motion

MLCL represents:

        1.     There have arisen and continue to exist irreconcilable differences between MLCL

and Tagnetics that have prevented MLCL from being able to continue to represent Tagnetics in

this matter.   MLCL cannot go into particulars regarding the irreconcilable differences that

currently exist due to the attorney-client privilege. MLCL is amenable to a telephonic in camera

conference with the Court should the court wish to do so.

       2.      Tagnetics is currently represented by attorneys from three law firms with Attorney

Stephen Stem and his firm, Kagan Stem Marinello & Beard, LLC, acting as lead counsel with the

assistance of Douglas Draper and Leslie Collins of the firm of Heller, Draper, Patrick, Hom &

Manthey, L.L.C. This Court previously granted Attorney Stem's, Attorney Draper's, and Attorney

Collins' s motions to appear pro hac vice.




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          3.    Permitting MLCL to withdraw at this time will not affect the matters pending before

the court in that the telephonic hearing scheduled by the court for January 28, 2020 regarding (a)

Tagnetics Application for Payment of Fees and Expenses, and (b) the remaining petitioning

creditors Motion for Contempt, are matters that were intended to and would be addressed by

Tagnetics lead counsel, Stephen Stern during the January 28 th hearing.

          4.    MLCL has communicated its intent to file this Motion to Tagnetics through its

principal, Mr. John White, and Tagnetics lead counsel, Mr. Stern who, along with Douglas Draper

and Leslie Collins, co-counsel, will be served with a copy of this Motion by email immediately

after its filing and by overnight express mail as referenced in the certificate of service below.

          5.    Accordingly, good cause exists under the Rules of Professional Conduct and LBR

2019-l(a)(2) for the granting of this Motion.

          WHEREFORE, McCarthy, Lebit, Crystal & Liffman, Co. L.P.A. and Robert R. Kracht,

Esq., for good cause shown, request that the within Motion be granted for the reasons set forth

herein.

Dated: January 15, 2020                               Respectfully submitted,

                                                      Isl Robert R. Kracht
                                                      Robert R. Kracht (0025574)
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                               CERTIFICATE OF SERVICE
          I hereby certify that on January 15, 2020, a copy of the foregoing Motion for Leave to
Withdraw as Counsel was served (i) electronically on the date of filing through the Court's ECF
System on all ECF participants registered in this case with the court and (ii) electronically by
email on counsel for Tagnetics, Inc., Stephen Stem, Esq. (Stem@kaganstem.com), Douglas
Draper, Esq. (ddraper@hellerdraper.com) and Leslie Collins, Esq. (lcollins@hellerdraper.com),
and (iii) by ordinary U.S. Mail on January 15, 2020 addressed to:

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                                                   Isl Robert R. Kracht
                                                   Robert R. Kracht (#0025574)




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